        r ~<.\.,"·Ce-                                 EXHIBIT B                            FILED IN CHAMBERS
~~\)vi'                                                                                         U.S.D.C. Atlanta

~   .   (USAO GAN 6/10) Search Warrant
                                                                                                    JUN 1 7 2015
                                                                                               JAM~Clerk ....
                                                   United States District Court             By~'                      erk
                                                    NORTHERN DISTRICT OF GEORGIA
                                   In the Matter of the Search of
                                                                                       APPLICATION AND
         A pp le iPhone Seized From Mani Chilpayen and currently in
                                                                                         AFFIDAVIT FOR
         the custody of the Superior Court of Fulton County,
                                                                                       SEARCH WARRANT
         Georgia
                                                                                     Case number: 1:15-MC-678




        I, Mario Lijoi, being duly sworn depose and say:
        I am a Special Agent of the Drug Enforcement Administration and have reason to believe that in the
        property described as:

             Apple iPhone Seized From Mani Chilpayen and currently in the custody of the Superior Court of
             Fulton County, Georgia, as described in more detail on Attachment A



        in the Northern District of Georgia there is now concealed certain property, certain information, and
        certain data, namely,

             See Attachment B

        which constitutes evidence of a crime, contraband, fruits of crime, or items illegally possessed, and
        property designed for use, intended for use, or tised in committing a crime, concerning violations of Title
        18, United States Code, Section(s) 1956 & 1957; Title 18, United States Code, Section(s) 1344; Title 18,
        United States Code, Section(s) 1343; and Title 21, United States Code, Section(s) 841 & 846. The facts to
        support a finding of Probable Cause are as follows:

             SEE ATTACHED AFFIDAVIT

        Continued on attached sheet made a part hereof.



        Sworn to before me, and subscribed in my presence              Si
                                                                       Mario Lijoi

        June 17, 2015                                                  Atlanta, Georgia
        Date                                                           City and States


        JANET F. KING
        UNITED STATES MAGISTRATE JUDGE
        Name and Title of Judicial Officer
        AUSA GaITett L. Bradford
                                  ATTACHMENT A

                               Property to Be Searched

Apple iPhone Seized From Mani Chilpayen and currently in the custody of the
Superior Court of Fulton County, Georgia
A gray Apple iPhone with IMEI #013329001341088, seized from Mani Chilpayen
by the Sandy Springs, Georgia Police Department on April 12, 2013, and
currently in the custody of the Superior Court of Fulton County, Georgia.


Property Seized From 1944 Tigertail Boulevard, Dania, Florida And Currently
In The Custody Of The Fulton County, Georgia District Attorney's Office

The following property, which was seized from a commercial office suite located
at 1944 Tigertail Boulevard, Dania, Florida by the Sandy Springs, Georgia Police
Department on April 12, 2013, and currently in the custody of the Fulton County,
Georgia District Attorney's Office:
   •   Miscellaneous hard copy documents, found throughout the office suite
   Seized.from the largest office ("OJJice #1")
   • Silver Apple desktop computer
   •   Apple iPad with serial number DN6G78R8DKPK
   •   Blue Citibank bank deposit bag
   Seized.from the o,(fice adjacent to Office #1 ("Office #2")
   • Silver and black HP Pavilion 20 All-in-One PC desktop computer with

       serial number 3CR2490MFP




                                            A-1
   •   Black and red thumb drive which was plugged into the silver and black
       HP Pavilion 20 All-in-One PC desktop computer with serial number
       3CR2490MFP
   Seized.from a third office ("Office #3")
   • Silver Apple desktop computer
   •   Apple iPad with serial number DMPH211XDKPH
   •   Blue and white thumb drive, 32GB with "PNY" and a key ring
   • Black Apple iPhone with IMEI #013328005520788
   •   Black Samsung laptop computer with serial number HPHF91BC211147N
   • Silver WD My Passport for MAC external hard drive with serial number
       WXQ1A9134809
   •   File folder labeled "2012 AUDI A7 SILVER VIN: 2816"
   • File folder labeled "2011 CHEVY CAMARO RS VIN: 3849"


Property Seized From 1944 Tigertail Boulevard, Dania, Florida And Currently

In The Custody Of The Superior Court Of Fulton County, Georgia

The following property, which was seized from Office #3 (as described above)
located at 1944 Tigertail Boulevard, Dania, Florida by the Sandy Springs, Georgia
Police Department on April 12, 2013, and currently in the custody of the Superior
Court of Fulton County, Georgia:
   • File folder labeled "2012 AUDI A7 WHITE VIN: 3893"




                                              A-2
Property Seized From 2916 Hidden Harbour Court, Dania, Florida
The following property, which was seized from a residence located at 2916
Hidden Harbour Court, Dania, Florida by the Sandy Springs, Georgia Police
Department on April 12, 2013, and currently in the custody of the Fulton County,
Georgia Police Department:
   • Blue spiral notebook found on kitchen counter
   • Black spiral notebook found on kitchen counter
   • Silver Apple MacBook Pro laptop computer with serial number
      W804330GATM found on living room table
   • Miscellaneous hard copy documents




                                      A-3
                                ATTACHMENTB

                      Items And Information To Be Seized

Any records relating to the transportation, ordering, distribution, possession
and/ or sale of controlled substances, including currency and other objects that
may be the proceeds of or evidence of drug trafficking, as well as
correspondence, financial documents, check stubs, identification documents for
individuals, business entities, and assets, or other documents relating to drug
trafficking, money laundering, or fraud which constitute evidence of the ,
commission of a criminal offense and property which has been used as the
means of committing a criminal offense, concerning violations of 18 U.S.C.
§§ 1956 & 1957, 18 U.S.C. § 1344, 18 U.S.C. § 1343, and 21 U.S.C. §§ 841 & 846,

including but not limited to:

   1. lists of customers and related identifying information;

   2. types, amounts, and prices of drugs trafficked as well as dates, places, and

amounts of specific transactions;

   3. any information related to sources of drugs (including names, addresses,

phone numbers, or any other identifying information);

   4. information reflecting schedules or appointments;

   5. all bank records, checks, credit card bills, account information, and other

financial records;

   6. records reflecting the purchase or sale of controlled substances, including

ledgers, customer lists, supplier lists, correspondence, receipts, journals, books

and/ or other papers noting the price, quantity or quality of controlled



                                        B-1
substances, or noting the person to or from whom locations where controlled

substances were obtained, transferred, sold or distributed and/ or indicating

amounts due or owed on account or transactions;

   7. records showing the acquisition, secreting, transfer, and/ or concealment of

assets and the obtaining, conversion, transfer, concealment, and/ or

disbursement of currency, currency equivalent, or counterfeit currency,

including personal books, records, writings, receipts, insurance records, letters of

credit, receipts of customer copies of money drafts, cashier's checks, traveler's

checks, wire transfer receipts, bank checks or deposit tickets, safe deposit box

agreements, storage facility agreements, and receipts of expenditures;

   8. records of warehouse, house or apartment leases, safety deposit box records

and storage facility records;

   9. records relating to the purchase of large scale business or personal assets

including vehicles, furniture, or any other items or receipts reflecting

expenditures for personal or business items in excess of $1,000;

   10. tax records including income tax returns (Federal, State), real estate and

personal property records (city and county), sales tax records (city, county and

state), including supporting schedules and work papers, summary sheets,

documents and analysis used in the preparation of tax returns and records;

   11. loan records, including but not limited. to loans payable and receivable

documents to include notes, check stubs, payment books, records, loan

agreements, loan applications, mortgages, security agreements, deeds of trust,

letters of cre<..iit, payroll records, and related documents;


                                          B-2
   12. personal contact and address records, and other items which identify

names, nicknames, addresses, telephone numbers, of individuals involved in

drug trafficking activities;

   13. photographs and videos of individuals involved in drug trafficking,

vehicles and other assets, and controlled substances purchased or distributed;

   14. documents reflecting the use of fictitious names, addresses, and business

fronts, the use of other people's names addresses and businesses, and the

dominion and control over assets by the criminal associates placed under

someone else's name;

   15. records and items indicating occupancy, residency, and/ or ownership of

premises, including bills, photographs, addressed envelopes, and rent receipts;

   16. records reflecting travel, including passports, airline tickets, vehicle rental

receipts, credit card receipts, hotel and restaurant receipts, canceled checks,

maps, and records of long distance calls; and

   17. evidence of user attribution showing who used or owned the device, such

as logs, phonebooks, saved usernames and passwords, documents, and browsing

history.

   18. As used above, the terms "records" and "information" include.all of the

foregoing items of evidence in whatever form and by whatever means they may

have been created or stored, including any form of computer or electronic

storage (such as flash memory or other media that can store data) and any

photographic form.




                                         B-3
              AFFIDAVIT IN SUPPORT OF SEARCH WARRANT


   I, Mario Lijoi, Special Agent of the Drug Enforcement Administration
("DEA"), being first duly sworn, hereby depose and state as follows:

                     Introduction and Affiant' s Background

   1. I make this affidavit in support of an application for search warrants

authorizing the examination of property which is currently in law enforcement

or court possession and described in Attachment A (the "Subject Property"), for

the items and information described in Attachment B, including the extraction of

electronically stored information from electronic devices included in the Subject

Property.

   2. As explained further below, the Subject Property is currently in law

enforcement or court custody, and has been since it was originally seized on

April 12, 2013, from three locations: (1) the person of Mani CHILP AYEN, a/k/ a

Mani Chulpayev, (2) a business office used by CHILPAYEN and his criminal

associates, and (3) CHILPAYEN' s residence. This affidavit is based in part on

statements CHILPAYEN made to me on June 3, 2015.

   3. Based on my training and experience and the facts as set forth in this

affidavit, I respectfully submit that there is probable cause to believe there is

presently concealed in the Subject Property items and information described in

Attachment B which constitute evidence, fruits, and/ or instrumentalities of, inter

alia, violations of 18 U.S.C. §§ 1956 and 1957 (money laundering), 18 U.S.C.
§ 1344 (bank fraud), 18 U.S.C. § 1343 (wire fraud), and 21 U.S.C. §§ 841 & 846

(narcotics trafficking).

   4. I am an investigative or law enforcement officer of the United States within

the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of

the United States who is empowered by law to conduct investigations and make

arrests for offenses enumerated in Title 18, United States Code, Section 2516.

   5. I am a Special Agent with the DEA, and have been so employed for more

than seventeen years, since August of 1997. As such, I investigate criminal

violations of federal drug laws and related offenses including, but not limited to,

violations of Title 21, United States Code, Sections 841, 843, 846, 848, 856, 952,

960, and 963, and Title 18, United States Code, Sections 1952, 1956, 1957 and 1960.

   6. Prior to becoming a Special Agent with the DEA, I served as a United States

Army National Guard military intelligence analyst assigned to DEA Miami from

1993through1997. There, I provided analytical support to DEA's investigations

of narcotics trafficking and money laundering organizations.

   7. In connection with my official duties as a Special Agent, I attended the DEA

academy in Quantico, Virginia, where I received training in the identification of

narcotics, the investigation of narcotics traffickers, law enforcement techniques

and procedures, and the law of search and seizure. Additionally, I have ,

participated personally in federal investigations that resulted in numerous

arrests and seizures concerning drug trafficking, money laundering, and fraud. I

have authored the affidavits in support of numerous search and arrest warrants.

I have received specialized training in the investigation of drug trafficking


                                          -2-
organizations and their complex conspiracies, including training in drug

recognition and terminology, undercover operations, surveillance, interview

techniques, financial and money laundering investigations, and the use of

electronic surveillance. I am personally familiar with and have used all normal

methods of investigation, including but not limited to: visual surveillance;

electronic surveillance; interviews of informants, witnesses and subjects; and

undercover operations. In addition to this training and experience, I have

interviewed dozens of witnesses to, and participants in, large narcotics

trafficking organizations who have described to me the techniques that they use

to import and distribute illegal drugs as well as to transport, conceal, and

launder the proceeds of illegal drug transactions. Further, I have experience in

reviewing financial documents and transactions in order to identify fraud-related

activity. As part of that process, I have experience in reviewing bank records,

financial documents, and credit reports to determine if evidence of money

laundering or fraud is present.

   8. Based on my training and experience in the investigation of drug traffickers

and money launderers, and based upon interviews I have conducted with

defendants, informants, and other witnesses and participants in drug trafficking

and money laundering activities, I am familiar with the ways in which drug

traffickers and money launderers conduct their business. My familiarity

includes: the various means and methods by which drug traffickers import and

distribute drugs, including their use of cellular telephones and numerical codes

and code words to conduct drug transactions. I am also familiar with the ways


                                         -3-
that drug traffickers conceal, convert, transmit, and transport their drugs and

drug proceeds, including the use of carriers to transport currency and proceeds,

the use of third parties to purchase or hold title to assets, the use of multiple

vehicles as conveyances for the drugs and drug proceeds, the installation of

false/hidden compartments ("traps") in those vehicles to covertly transport

drugs and drug proceeds, and the use of off-shore accounts. In addition, I know

that drug trafficking and money laundering organizations such as those under

investigation here commonly will compartmentalize members of their

organization into discrete "cells,'' with specific members, responsibilities, and/or

geographical territories assigned to each cell. In that regard, I know that

members of one cell commonly are provided with information only about their

specific cell's criminal activities, thus limiting the information about the overall

organization.

   9. As an agent, I have extensive training in the area of narcotics smuggling

and money laundering investigations. Based on my experience and training I

know that individuals smuggle and/ or transport illegal controlled substances

utilizing vehicles. Often, drug traffickers will reside in one location and store, or

"stash" drug supplies in another. While traveling to stash locations, traffickers

will often utilize privately owned vehicles.

   10. Based on my training and experience, participation in criminal

investigations, and the training and experience of other officers and agents wHh

whom I am working closely, I know that:




                                          -4-
a. Drug traffickers frequently use cellular telephones and keep a list of

   names and nmnbers of customers and suppliers in their electronic

   address books of their cellular telephones. Such cell phones will also

   carry information in a SIM (Subscriber Identity Module) card, or

   some other type of electronic storage card or drive, which will reveal

  .the number of the cell phone and other information, leading to the

   identity of the user.

b. Many cell phones currently have advanced capabilities, including:

   Internet browsing, text and e-mail, photography and video storage,

   notes, calendars, and data file storage. I also am aware, through

   training and experience, that traffickers use cell phones to

   communicate with each other via voice, direct connect, text message,

   and e-mail; store valuable data such as names, addresses, and phone

   numbers of co-conspirators; obtain and store directions and maps;

   maintain photographs of drug traffickmg associates; search the

   Internet; and capture audio, image, and video files.

c. Furthermore, I know that it is common for drug traffickers to

   possess and use multiple cell phones to facilitate their unlawful

   conduct. Indeed, it is my experience that narcotics distributors

   purposefully use multiple communication devices so as to not alert

   law enforcement of the complete scope of their own and/ or their

   organization's illicit conduct, in the event that their communications

   are being intercepted. By way of example only, a trafficker may


                              -5-
             have one cell phone used to call their drug source of supply, another

             phone used to call customers, and yet another to call drug

             distributors, in addition to a phone for personal use. In short, cell

             phones are vital instruments to drug traffickers.

   11. Based on my training and experience, participation in criminal

investigations, and the training and experience of other officers and agents with

whom I am working closely, I also know that participants in money laundering

and fraud schemes will often keep files and other records that reflect their

activities, such as records identifying customers, assets, bank accounts, and

financial transactions. I also know that such criminals often use electronic

devices, including computers, "tablets/' and n smart phones" to conduct and

store similar records relating to their criminal activities.

                     Source Of Information Contained Herein

   12. The facts set forth in this affidavit are based upon my personal

observations, my training and experience, and upon information that I have

developed through personal participation in the underlying investigation. This

affidavit also contains information that I have learned from my discussions with

other state and federal agents, as well as from interviews and debriefings

conducted with cooperating witnesses, written reports of investigations, arrests,

and seizures. Because this affidavit is being submitted for the limited purpose of

establishing probable cause to support the requested search warrant, I have not

included in this affidavit every detail of every aspect of the investigation. Rather,



                                          -6-
I have set forth facts which I believe sufficient to establish probable cause for   th~

issuance of the requested search warrant. Unless specifically indicated

otherwise, all conversations and statements described in this affidavit are related

in substance and in part only, and all times stated in this affidavit are

approximate.

                    Factual Summary - Probable Cause Basis

   A. Background of the investigation

   13. In connection with an investigation into a cocaine, heroin,

methamphetamine, and marijuana distribution network operating in the Atlanta

metro area, the DEA' s High Intensity Drug Trafficking Area ("HIDTA") Task

Force in Atlanta identified CHILPAYEN as the leader of a large criminal

enterprise that laundered money for a number of narcotics traffickers in the

metro Atlanta area. Specifically, CHILPAYEN, together with Amanda

ROMANO, Christopher HARRISON, Paul CARRUTH, and Kimberly REISS,

operated LUXURY LINEUP LLC, a luxury car leasing business for narcotics

traffickers based in Florida. As part of the enterprise, CHILPA YEN and his

associates would charge their narcotics trafficker clients large cash down

payments and monthly fees while providing the clients with anonymity by

keeping the cars registered in the names of business entities or other individuals.

Additionally, CHILP A YEN, CARRUTH, and REISS obtained cars for use in their

enterprise using a system of straw purchasers, bank fraud, and wire fraud.




                                         -7-
CHILPAYEN' s enterprise operated in Georgia, Florida, North Carolina, New

York, and likely .other states.

   14. CHILPAYEN was arrested in Florida on April 12, 2013, and charged with

murder and other crimes in the Superior Court of Fulton County, Georgia in

connection with the June 7, 2012, homicide of Melvin Vernell III, a/k/ a Lil Phat

(a client of CHILPAYEN's business) outside Northside Hospital in Sandy

Springs, Georgia. On the same day CHILPAYEN was arrested, the Subject

Property was seized by Sandy Springs, Georgia Police Department officers

pursuant to state search warrants as evidence to be used in the case against

CHILPAYEN. Ultimately, some of the evidence in the case was suppressed

when the court held that some of the statements CHILPA YEN made to agents

were involuntary,1 and the murder charges were dismissed when he entered a

guilty plea to charges of tampering with evidence on March 30, 2015.

CHILPAYEN was subsequently released from custody.

   15. In May 2015 this investigation determined that CHILPAYEN had returned

to Miami and was operating another vehicle leasing business involving luxury

vehicles with his former associate CARRUTH.




   1 Some of CHILPAYEN's statements which were later suppressed were
included in the applications for the state search warrants authorizing the original
search seizure of the Subject Property on April 12, 2013. In this affidavit I do not
rely on any of the statements suppressed in the state case.


                                        -8-
   16. On June 3, 2015, CHILPAYEN and CARRUTH met with me and provided

statements regarding their past criminal activities, the Subject Property, and

infonnation about other criminal actors.

   B. CHILPAYEN's LUXURY LINEUP Car Leasing Criminal Enterprise

   17. The investigation has revealed that CHILPAYEN' s LUXURY LINEUP car

leasing business was structured as follows:

         a. CHILP AYEN maintained a fleet of more than 100 vehicles, which he

             leased out to a clientele thatwas primarily criminal actors involved

             in drug trafficking or other criminal activities.

         b. In order to generate an inventory of vehicles for his leasing business,

             CHILP A YEN' s associates recruited straw purchasers with good

             credit, including Michael FELMLY, Amelia FELMLY, Lorene

             MURPHY, Olga HALL, Janet HUNYH, and others.

         c. In some instances a straw purchaser would go to multiple

             dealerships where their credit report was pulled to apply for

             financing. The straw purchaser then bought multiple luxury

             vehicles in a short period of time and turned them over to

             CHILPAYEN' s LUXURY LINEUP business. It was not until

             approximately 30 to 45 days later that the financial institutions

             which financed the vehicle purchases learned that the straw

             purchaser had actually purchased multiple vehicles from different




                                         -9-
            sources within a short period of time.2 By that time, the vehicles had

            already been transferred to CHILP AYEN' s business and leased out

            to clients, and the financial institutions were unable to locate the

            vehicles to repossess them when payments were delinquent.

         d. CHILP AYEN rented out these vehicles to clients who provided him

            with a large cash down payment, often approximately 10% of the

            vehicle's value. Oien ts then paid a cash monthly fee of $1,000 to

            $2,000 for continued use of the vehicle. Cl-IILP AYEN sometimes

             directed clients to make their payments to bank accounts which

            were held in the name of a third party.

         e. When CHILPAYEN leased vehicles to his clients, the vehicles

             remained registered in the name of one of CHILP AYEN' s business

             entities or straw purchasers. This enabled his clients to prevent their

             identities from being associated with the vehicles ..

         f. CHILPAYEN communicated with business associates and clients via

             text messages, e-mails, and telephone calls using his cellular phones,

             iPads, and computers.

   18. Much of this information about CHILP AYEN' s scheme was confirmed

during interviews I conducted of ROMANO on February 26 and 27, 2015.

ROMANO was CHILP AYEN' s girlfriend and also assisted with the operations of

LUXURY LINEUP. During these interviews, ROMANO stated:

   2 It usually takes a period of time before a car finance loan appears on a
person's credit report.


                                        -10-
         a. ROMANO worked at the LUXURY LINEUP business and handled

            the accounts receivables, vehicle payment transactions, and did

            other accounting bookwork for the business.

         b. CHILPA YEN managed approximately 200 vehicles.

         c. CHILPA YEN' s clients were drug dealers, gangsters, and people

            with low credit scores.

         d. To lease a car, clients used cash to pay CHILPAYEN approximately

            10% of the vehicle's value and made additional monthly cash

            payments which ranged from $1,000 to $2,000. Each lease

            agreement was between 6 and 12 months long.

         e. CHILPAYEN, CARRUTH, and Lyle LIVESAY normally

            communicated directly with these clients.

         f. MURPHY and Olga HALL each provided several vehicles to

            CHILPA YEN for the LUXURY LINEUP business operations.

         g. HARRISON and REISS also worked with CHILP AYEN at the

            LUXURY LINEUP business.

   19. Information about CHILPAYEN' s scheme was also confirmed during an

interview of CHILPA YEN on June 3, 2015. On that day, CHILPA YEN asked to

be interviewed by a federal agent in the hope of becoming a documented

confidential source and receiving assistance with resolving immigration issues

and pending criminal charges in DeKalb County, Georgia. I told CHILPAYEN I

would listen to what he had to say, but confirmed that he was not a DEA

confidential source and I would not make any promises about whether he would


                                      -11-
become a documented confidential source or receive any assistance as a result of

his statements. CHILPAYEN was not in custody during the meeting,

volunteered to be interviewed, and signed a written acknowledgment of

Miranda rights during the interview. Among other things, CHILPAYEN stated:

         a. He rented out approximately 140 vehicles as a part of his enterprise.

         b. He estimated that approximately 98% of his clients were drug

            dealers.

         c. He was in business with CARRUTH, LIVESAY, and REISS.

         d. ROMANO worked at LUXURY LINEUP as a bookkeeper and

            handled some of the financial payments for the vehicles.

         e. HARRISON worked at LUXURY LINEUP picking up and dropping

            off vehicles and was paid $2,500 per month. HARRISON also leased

            vehicles to some of his own clients.

         f. CHILPA YEN obtained cars for his enterprise from third party

            purchasers, including MURPHY and HALL.

         g. One of CHILPAYEN' s clients, "J.A.," lived in the Atlanta area and

            sold kilogram quantities of cocaine to distributors operating in the

            Macon, Georgia area. From 2010 through the time of CHILP AYEN' s

            arrest in April 2013, J.A. leased approximately 10 vehicles from

            CHILP AYEN. For the first vehicle, J.A. gave CHILP AYEN an initial

            cash down payment of $15,000 followed by monthly cash lease

            payments. For subsequent vehicles, J.A. made cash down payments

            of $3,000 followed by monthly cash lease payments. Since


                                       -12-
    CHILP AYEN' s recent release from jait J.A. has been in phone, text,

    and e-mail contact with CHILPA YEN and currently intends on

    leasing more vehicles from CHILPAYEN.

h. Another one of CHILPA YEN'.s clients, "J.P./' lived in the Atlanta

    area ·and worked with J.A. selling kilogram quantities of cocaine to

    distributors operating in the Macon, Georgia area. From 2010

    through the time of CHILPAYEN' s arrest in April 2013, J.P. leased

    approximately seven or eight vehicles from CHILP AYEN, changing

    vehicles approximately every three to five months. For the first

    vehicle, J.P. gave CHILP AYEN an initial cash down payment of

    $8,000 followed by monthly cash lease payments of approximately

    $1,200. For subsequent vehicles, J.P. made cash down payments of

    $3,000 followed by monthly cash lease payment of $1,200. Since

    CHILPA YEN' s recent release from jait J.P. has been in phone and

    text contact with CHILP AYEN and currently intends on leasing

    more vehicles from CHILP A YEN.

L   One of CHILPAYEN' s clients, K.L distributed narcotics in the

    Atlanta area and paid CHILPA YEN between $75,000 and $100,000 in

    cash for multiple vehicles for him and his drug trafficking associates




                              -13-
            over a period of time before CHILPAYEN was arrested in April

            2013.3
                                             11
         J· One of CHILP A YEN' s clients, M.M.," distributed narcotics in the

            Atlanta area and paid CHILPA YEN approximately $100,000 in cash

            for vehicles he leased from July 2012 until the time CHILPAYEN

            was incarcerated in April 2013. During this time M.M. leased

            approximately 30 vehicles, including multiple vehicles

            simultaneously. The first two vehicles M.M. leased were for M.M.

            and his wife, for which he paid CHILPA YEN a cash down payment

            of $15,000, followed by monthly cash lease payments of $2,400.

            Eventually, at one point, M.M. was leasing approximately seven

            vehicles at a time from CHILPA YEN and the monthly payments to

            CHILPA YEN were $11,000 to $12,000 per month. Since

            CHILPA YEN' s recent release from jail, M.M. has been in e-mail

            contact with CHILP AYEN and currently intends on leasing more

            vehicles from CHILPAYEN.

   20. CARRUTH was also present during the June 3, 2015, interview with

CHILPAYEN. On that day, CARRUTH also asked to be interviewed by a federal

agent in the hope of becoming a documented confidential source, receiving

assistance with resolving pending criminal charges, and being placed into a


   3In June 2014 agents seized four kilograms of cocaine from two individuals
who had just left a house where they met with K.J., and seized 55 kilograms of
marijuana from two cars driving in a four-car caravan including K.J.


                                      -14-
witness protection program. I told CARRUTH I would listen to what he had to

say, but confirmed that he was not a DEA confidential source and I would not

make any promises about whether he would beco1ne a documented confidential

source or receive any assistance as a result of his statements. During this

interview, CARRUTH was not in custody, volunteered to be interviewed, and

signed a written acknowledgment of Miranda rights during the interview.

Among other things, CARRUTH stated that he recruited MURPHY and worked

with her and CHILP AYEN to acquire approximately ten vehicles to be used in

the LUXURY LINEUP business.

   C. Subject Property Seized From LUXURY LINEUP's Office Suite

   21. During the above-described interviews, CHILP AYEN and ROMANO

made st~tements about records that were kept documenting clients, assets, and

financial transactions relating to CHILP AYEN' s scheme and that those records

were stored on or in the Subject Property. They also confirmed that the office

suite located at 1944 Tigertail Boulevard, Dania, Florida, was used by

CHILPA YEN, ROMANO, and HARRISON to run the LUXURY LINEUP

business and store hard copy and electronic records relating to the enterprise.

They identified pictures of the largest office, referred to as "Office #1" in

Attachment A, as the office used by CHILP AYEN. They identified the adjacent

office, referred to as Office #2 in Attachment A, as the office used by ROMANO.

They identified a third office, referred to as Office #3 in Attachment A, as the

office used by HARRISON.

   22. For example, ROMANO stated that:

                                         -15-
         a. ROMANO worked at the LUXURY LINEUP business and handled

             the accounts receivables, vehicle payment transactions, and did

             other accounting bookwork for the business.

         b. ROMANO generated weekly Excel spreadsheets which she sent to

            CHILPA YEN at his e-mail address, maninyc777@gmail.com.

            CHILPAYEN used his computer, iPhone, and iPad to view these

             spreadsheets.

         c. CHILPAYEN kept hard copy files on his vehicles in cabinets inside

             the LUXURY LINEUP office. These files included signed lease

             agreements, copies of clients' driver's licenses, and copies of

             insurance for the vehicles.

         d. ROMANO kept paper documents related to the business in her

             office. She also kept electronic records, including Excel

             spreadsheets, on a desktop computer in her office. The spreadsheets

             contained information related to vehicle owners, monthly payments,

             banking, and other information.

         e. HARRISON handled much of the advertising for LUXURY LINEUP,

             and may have kept contracts and lease agreements on the computer

             in his office.

   23. ROMANO also identified several computers, other electronic media,

vehicle files, business records, and other items included in the Subject Property.

For example:




                                           -16-
        a. ROMANO identified photographs taken of CHILPAYEN' s office

            (Office #1) which included an Apple computer and a blue Citibank

           bank deposit bag. ROMANO sated that CHILPAYEN kept e-mails,

           lease agreements, and photos on this computer, and kept money,

           checks, and deposit slips for the business in the blue Citibank

            moneybag.

        b. ROMANO identified photographs of a filing cabinet containing

           vehicle files in a storage area of the office suite.

        c. ROMANO identified photographs taken of her office (Office #2)

            which included an HP desk computer.4

         d. ROMANO identified photographs taken of HARRISON' s office

            (Office #3) which included a filing cabinet, an Apple computer, an

            iPad, a thumb drive, an external hard drive, an iPhone, and a black

            laptop computer which was on the floor. ROMANO stated that

            HARRISON may have kept contracts, lease agreements, and vehicle

            photos on his computer and that the filing cabinet contained

            individual vehicle files which were organized and labelled with

            partial vehicle identification numbers ("VINs").




   4ROMANO identified a picture of the silver and black HP Pavilion All-in-one
PC desktop computer (included in the Subject Property) which ROMANO used
when employed at LUXURY LINEUP, and signed a written consent for agents to
search that computer.


                                        -17-
   24. CHILPA YEN also confirmed that he kept records documenting clients,

assets, and financial transactions relating to LUXURY LINEUP in the office suite

and identified pictures of the Subject Property taken on April 12, 2013, when the

Subject Property was seized by agents. For example:

         a. CHILP AYEN identified photographs taken of his office (Office #1)

            which included an Apple computer and a blue Citibank bank

            deposit bag. CHILP AYEN stated his laptop and iPad were kept

            inside a bag which was visible on the floor in photographs.

         b. CHILPAYEN identified photographs taken of ROMANO' s office

            (Office #2) which included an HP desk computer. CHILPAYEN

            stated ROMANO made vehicle payments and maintained the

            LUXURY LINEUP financial bookkeeping.

         c. CHILPAYEN identified photographs taken of HARRISON' s office

            (Office #3) which included a filing cabinet filled with file folders

            with partial VINs on them, an Apple computer, an iPad, a thumb

            drive, an external hard drive, an iPhone, and a black laptop

            computer on the floor. CHILP AYEN stated the files in the cabinet

            were the vehicle files for the business which contained the contracts

            and other information.

   D. Subject Property Seized From CHILPAYEN And ROMANO's Residence

   25. During the above-described interviews, CHILP AYEN and ROMANO also

confirmed that he lived at the residence located at 2916 Hidden Harbour Court,

Dania, Florida, and that HARRISON also lived in a room in the residence. They

                                       -18-
further confirmed that records relating to the LUXURY LINEUP enterprise were

stored in that location, and identified pictures of the Subject Property from April

12, 2013.

   26. For example:

            a. CHILP A YEN identified two notebooks (the two spiral notebooks

               included in the Subject Property) displayed in a photograph of the

               kitchen counter in his residence as notebooks ROMANO used to

               keep track of LUXURY LINEUP business expenses.

            b. CHILP AYEN identified a silver Apple laptop computer (the silver

               Apple MacBook Pro laptop computer included in the Subject

               Property) displayed in a photograph of a dining room table in the

               residence and stated that it belonged to him.

            c. CHILPA YEN identified photographs of marijuana, drug

               paraphernalia, and scales which were found in the kitchen at his

               residence and stated he and ROMANO smoked marijuana for

               recreational use.

            d. CHILP AYEN identified photographs of his master bedroom and

               bathroom which displayed a bag of marijuana which was found on

               the master bathroom counter.

   27. ROMANO also identified photographs taken on April 12, 2013, of the

residence located at 2916 Hidden Harbour Court, Dania, Florida. She stated that

she and CHILP AYEN lived at that residence. She stated that marijuana found in




                                         -19-
the master bathroom of her residence belonged to her and that marijuana, drug

paraphernalia, and scales found in the kitchen belonged to her and HARRISON.

   E. The iPhone Seized From CHILP AYEN On April 12, 2013

   28. When CHILPAYEN was arrested on April 12, 2013, on homicide charges

filed in Fulton County, Georgia, he had on his person a gray Apple iPhone with

IMEi #013329001341088.

   29. I believe that CHILP AYEN' s iPhone contains evidence of his criminal

enterprise. For example, during the June 3, 2015, interview, CHILPAYEN stated

that he used his phone to send text 1nessages to clients about cars and to check

his email. Further, as noted above in paragraph 22(b), ROMANO stated that

CHILPAYEN used his iPhone to view records relating to the LUXURY LINEUP

enterprise, specifically, the weekly spreadsheets ROMANO prepared and

emailed to CHILPAYEN. Additionally, a DEA Source of Information ("SOI #8)

stated thats/he participated in voice calls and text message communications

with CHILP AYEN about vehicle transactions, sometilnes including photographs

and VINs for the vehicles, prior to CHILPAYEN' s arrest in April 2013.5




    s SOI #8 provided agents with three separate phone numbers used by
CHILPAYEN over time. Agents believe SOI #8 is an accurate and reliable source
of information. SOI #8 has cooperated with agents over a period of time in
exchange for assistance with resolving criminal charges that were pending in
New Jersey and Georgia.


                                       -20-
                                Technical Terms

  30. Based on my training and experience and consultation with others, I use

the following technical terms to convey the following meanings:

         a. Cell phone or Wireless Telephone: A wireless telephone (or mobile

            telephone, or cellular telephone) is a handheld wireless device used

            for voice and data communication through radio signals. These

            telephones send signals through networks of transmitter/receivers,

            enabling communication with other wireless telephones or

            traditional "land line" telephones. A wireless telephone usually

            contains a "call log," which records the telephone number, date, and

            time of calls made to and from the phone. In addition to enabling

            voice communications, wireless telephones offer a broad range of

            capabilities. These capabilities include: storing names and phone

            numbers in electronic "address books;" sending, receiving, and

            storing text messages and e-mail; taking, sending, receiving, and

            storing still photographs and moving video; storing and playing

            back audio files; storing dates, appointments, and other information

            on personal calendars; and accessing and downloading information

            from the Internet. Wireless telephones may also include global

            positioning system (" GPS") technology for determining the location

            of the device.

         b. Digital camera: A digital camera is a camera that records pictures as

            digital picture files, rather than by using photographic film. Digital


                                       -2F
   cameras use a variety of fixed and removable storage media to store

   their recorded images. Images can usually be retrieved by

   connecting the camera to a computer or by connecting the

   removable storage medium to a separate reader. Removable storage

   media include various types of flash memory cards or miniature

   hard drives. Most digital cameras also include a screen for viewing

   the stored images. This storage media can contain any digital data,

   including data unrelated to photographs or videos.

c. Portable media player: A portable media player (or "MP3 Player" or

   iPod) is a handheld digital storage device designed primarily to

   store and play audio, video, or photographic files. However, a

   portable media player can also store other digital data. Some

   portable media players can use removable storage media.

   Removable storage media include various types of flash memory

   cards or miniature hard drives. This removable storage media can

   also store any digital data. Depending on the 1nodel, a portable

   media player may have the ability to store very large amounts of

   electronic data and may offer additional features such as a calendar,

   contact list, clock, or games.

d. GPS: A GPS navigation device uses the Global Positioning System

   to display its current location. It often contains records the locations

   where it has been. Some GPS navigation devices can give a user

   driving or walking directions to another location. These devices can


                               -22-
   contain records of the addresses or locations involved .in such

   navigation. The Global Positioning System (generally abbreviated

   "GPS") consists of 24 NAVSTAR satellites orbiting the Earth. Each

   satellite contains an extremely accurate clock. Each satellite

   repeatedly transmits by radio a mathematical representation of the

   current time, combined with a special sequence of numbers. These

   signals are sent by radio, using specifications that are publicly

   available. A GPS antenna on Earth can receive those signals. When

   a GPS antenna receives signals from at least four satellites, a

   computer connected to that antenna can mathematically calculate

   the antenna's latitude, longitude, and sometimes altitude with a

   high level of precision.

e. PDA: A personal digital assistant, or PDA, is a handheld electronic

   device used for storing data (such as names, addresses,

   appointments or notes) and utilizing computer programs. Some

   PDAs also function as wireless communication devices and are used

   to access the Internet and send and receive e-mail. PDAs usually

   include a memory card or other removable storage media for storing

   data and a keyboard and/ or touch screen for entering data.

   Removable storage media include various types of flash memory

   cards or miniature hard drives. This removable storage media can

   store any digital data. Most PDAs run computer software, giving

   the1n many of the same capabilities as personal computers. For


                              -23-
   example, PDA users can work with word-processing documents,

   spreadsheets, and presentations. PDAs may also include global

   positioning system ("GPS") technology for determining the location

   of the device.

f. Tablet: A tablet is a mobile computer, typically larger than a phone

   yet smaller than a notebook, that is primarily operated by touching

   the screen. Tablets function as wireless communication devices and

   can be used to access the Internet through cellular networks, 802.11

   "wi-fi" networks, or otherwise. Tablets typically contain programs

   called apps, which, like programs on a personal computer, perform

   different functions and save data associated with those functions.

   Apps can, for example, permit accessing the Web, sending and

   receiving e-mail, and participating in Internet social networks.
                                                         11
g. IP Address: An Internet Protocol address (or simply IP address") is

   a unique numeric address used by computers on the Internet. An IP

   address is a series of four numbers, each in the range 0-255,

   separated by periods (e.g., 121.56.97.178). Every computer attached

   to the Internet computer must be assigned an IP address so that

   Internet traffic sent from and directed to that computer may be

   directed properly from its source to its destination. Most Internet

   service providers control a range of IP addresses. Some computers

   have static-that is, long-term-IP addresses, while other computers

   have dynamic- that is, frequently changed- IP addresses.


                              -24-
         h. Internet: The Internet is a global network of computers and other

            electronic devices that communicate with each other. Due to the

            structure of the Internet, connections between devices on the

            Internet often cross state and international borders, even when the

            devices communicating with each other are in the same state.

   31. Based on my training, experience, and research, and consultation with

others, I know that the iPhones included in the Subject Property have capabilities

that allow them to serve as wireless telephones, digital cameras, portable media

players, GPS navigation devices, and PDAs; I know that the iPads included in

the Subject Property are tablets which have capabilities that may allow them to

serve as communication devices, digital cameras, portable media players, GPS

navigation devices, and PDAs; and I know that the laptop and desktop

computers included in the Subject Property have capabilities that may allow

them to serve as communication devices and digital cameras. In my training and

experience, examining data stored on these types of devices and computers can

uncover, among other things, evidence that reveals or suggests who possessed or

used the device.

                   Electronic Storage And Forensic Analysis

   32. Based on my knowledge, training, and experience, and consultation with

others, I know that electronic devices can store information for long periods of

time. Similarly, things that have been viewed via the Internet are typically stored




                                       -25-
for some period of time on the devices. This information can sometimes be

recovered with forensics tools.

   33. As to the electronic devices included in the Subject Property, there is

probable cause to believe that things that were once stored on that device may

still be stored there, for at least the following reasons:

          a. Based on my knowledge, training, and experience, and consultation

             with others, I know that electronic files or remnants of such files can

             be recovered months or even years after they have been

             downloaded onto a storage medium, deleted, or viewed via the

             Internet. Electronic files downloaded to a storage medium can be
                                                              '

             stored for years at little or no cost. Even when files have been

             deleted, they can be recovered months or years later using forensic
                                                         11
             tools. This is so because when a person deletes" a file on an

             electronic device, the data contained in the file does not actually

             disappear; rather, that data remains on the storage medium until it

             is overwritten by new data.

          b. Therefore, deleted files, or remnants of deleted files, may reside in

             free space or slack space - that is, in space on the storage medium

             that is not currently being used by an active file - for long periods of

             time before they are overwritten. In addition, an electronic device's

             operating system may also keep a record of deleted data in a "swap"
                11
             or recovery" file.




                                          -26-
         c. Wholly apart from user-generated files, electronic storage media- in

            particular, electronic devices' internal hard drives-contain

            elech·onic evidence of how an electronic device has been used, what

            it has been used for, and who has used it. To give a few examples,

            this forensic evidence can take the form of operating system

            configurations, artifacts from operating system or application

            operation, file system data structures, and virtual memory "swap"

            or paging files. Electronic device users typically do not erase or

            delete this evidence, because special software is typically required

            for that task. However, it is technically possible to delete this

            information.

         d. Similarly, files that have been viewed via the Internet are sometimes

            automatically downloaded into a temporary Internet directory or
            1
                'cache."

   34. Forensic e11idence. This application seeks permission to locate not only

electronically stored information that might serve as direct evidence of the

crimes described on the warrant, but also forensic evidence that establishes how

the electronic devices were used, the purpose of their use, who used them, and

when. There is probable cause to believe that this forensic electronic evidence

might be on the elech·onic devices because:

         a. Data on the storage medium can provide evidence of a file that was

            once on the storage medium but has since been deleted or edited, or

            of a deleted portion of a file (such as a paragraph that has been


                                        -27-
   deleted from a word processing file). Further, as to electronic

   devices, virtual memory paging systems can leave traces of

   information on the storage medium that show what tasks and

   processes were recently active. Web browsers, e-mail programs, and

   chat programs store configuration information on the storage

   medium that can reveal information such as online nicknames and

   passwords. Operating systems can record additional information,

   such as the attachment of peripherals, the attachment of USB flash

   storage devices or other external storage media, and the times the

   computer was in use. Computer file systems can record information

   about the dates files were created and the sequence in which they

   were created.

b. Forensic evidence on a device can also indicate who has used or

   controlled the device. This "user attribution" evidence is analogous

   to the search for "indicia of occupancy" while executing a search

   warrant at a residence.

c. A person with appropriate familiarity with how an electronic device

   works may, after examining this forensic evidence in its proper

   context, be able to draw conclusions about how electronic devices

   were used, the purpose of their use, who used them, and when.

d. The process of identifying the exact electronically stored information

   on a storage medium that are necessary to draw an accurate

   conclusion is a dynamic process. Electronic evidence is not always


                             -28-
            data that can be merely reviewed by a review team and passed

            along to investigators. Whether data stored on a computer is

            evidence may depend on other information stored o'n the computer

            and the application of knowledge about how a computer behaves.

            Therefore, contextual information necessary to understand other

            evidence also falls within the scope of the warrant.

         e. Further, in finding evidence of how a device was used, the purpose

            of its use, who used it, and when, sometimes it is necessary to

            establish that a particular thing is not present on a storage medium.

   35. Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrants I am applying for would permit the examination of the

devices consistent with the warrants. The examination may require authorities

to employ techniques, including but not limited to computer-assisted scans of the

entire medium, that might expose many parts of the device to human inspection

in order to determine whether it is evidence described by the warrants.

   36. Manner of execution. Because the requested warrants seek only permission

to examine devices already in law enforcement or a court's possession, the

execution of the warrants does not involve the physical intrusion onto a

premises. Consequently, I submit there is reasonable cause for the Court to

authorize execution of the warrants at any time in the day or night.




                                       -29-
                                    Conclusion

   37. Based on the above, I believe that that there is probable cause for search

warrants authorizing the examination of the SubjectProperty, as described in

Attachment A, for the items described in Attachment B, which constitute

evidence, instrumentalities, and fruits of violations of 18 U.S.C. §§ 1956 and 1957

(money laundering), 18 U.S.C. § 1344 (bank fraud), 18 U.S.C. § 1343 (wire fraud),

and 21 U.S.C. §§ 841 & 846 (narcotics trafficking).

                                 Sealing Request

   IT IS FURTHER REQUESTED that the search warrants, supporting

applications, affidavits, and associated pleadings be filed UNDER SEAL until

further order of the Court to avoid premature disclosure of the ongoing

undercover investigation, guard against flight, avoid the destruction of evidence,

avoid the intimidation of witnesses, and better ensure the safety of agents and

others, except that working copies may be served on Special Agents and other

investigative and law enforcement officers of the DEA, federally deputized state

and local law enforcement officers, and other government and contrqct personnel

acting under the supervision of such investigative or law enforcement officers, as

necessary to effectuate the Court's Order.




                                        -30-
                                   ATTACHMENT A

                                Property to Be Searched

Apple iPhone Seized From Mani Chilpayen and currently in the custody of the
Superior Court of Fulton County, Georgia
A gray Apple iPhone with IMEI #013329001341088, seized from Mani Olilpayen
by the Sandy Springs, Georgia Police Department on April 12, 2013, and
currently in the custody of the Superior Court of Fulton County, Georgia.


Property Seized From 1944 Tigertail Boulevard, Dania, Florida And Currently
In The Custody Of The Fulton County, Georgia District Attorney's Office
The following property, which was seized from a commercial office suite located
at 1944 Tigertail Boulevard, Dania, Florida by the Sandy Springs, Georgia Police
Department on April 12, 2013, and currently in the custody of the Fulton County,
Georgia District Attorney's Office:
   • Miscellaneous hard copy documents, found throughout the office suite
   Seized.from the largest o,(fice ("Office #ln)
   • Silver Apple desktop computer
   • Apple iPad with serial number DN6G78R8DKPK
   • Blue Citibank bank deposit bag
   Seized.from the office ad.,iacent to Office #1 ("Office #2   11
                                                                     )




   • Silver and black HP Pavilion 20 All-in-One PC desktop computer with
      serial number 3CR2490MFP




                                            A-1
   •   Black and red thumb drive which was plugged into the silver and black
       HP Pavilion 20 All-in-One PC desktop computer with serial number
       3CR2490MFP
   Seized from a third office ("Office #3")

   •   Silver Apple desktop computer
   •   Apple iPad with serial number DMPH211XDKPH
   •   Blue and white thumb drive, 32GB with "PNY" and a key ring
   •   Black Apple iPhone with IMEi #013328005520788

   •   Black Samsung laptop computer with serial number HPHF91BC211147N
   •   Silver WD My Passport for MAC external hard drive with serial number

       WXQ1A9134809
   •   File folder labeled "2012 AUDI A7 SILVER VIN: 2816"

   •   File folder labeled "2011 CHEVY CAMARO RS VIN: 3849"



Property Seized From 1944 Tigertail Boulevard, Dania, Florida And Currently

In The Custody Of The Superior Court Of Fulton County, Georgia

The following property, which was seized from Office #3 (as described above)

located at 1944 Tigertail Boulevard, Dania, Florida by the Sandy Springs, Georgia

Police Department on April 12, 2013, and currently in the custody of the Superior
Court of Fulton County, Georgia:

   •   File folder labeled "2012 AUDI A7 WHITE VIN: 3893"




                                              A-2
Property Seized From 2916 Hidden Harbour Court, Dania, Florida

The following property, which was seized from a residence located at 2916
Hidden Harbour Court, Dania, Florida by the Sandy Springs, Georgia Police
Department on April 12, 2013, and currently in the custody of the Fulton County,
Georgia Police Department:
   •   Blue spiral notebook found on kitchen counter
   • Black spiral notebook found on kitchen counter

   • Silver Apple MacBook Pro laptop computer with serial number
       W804330GATM found on living room table

   •. Miscellaneous hard copy documents




                                      A-3
                                  ATTACHMENT B

                        Items And Information To Be Seized

Any records relating to the transportation, ordering, distribution, possession
and/ or sale of controlled substances, including currency and other objects that
may be the proceeds of or evidence of drug trafficking, as well as

correspondence, financial documents, check stubs, identification documents for
individuals~   business entities, and assets, or other docu1nents relating to drug
trafficking, money laundering, or fraud which constitute evidence of the
commission of a criminal offense and property which has been used as the
means of committing a criminal offense, concerning violations of 18 U.S.C.
§§ 1956 & 1957, 18U.S.C.§134{ 18 U.S.C. § 1343, and 21 U.S.C. §§ 841 & 846,

including but not limited to:

   1. lists of customers and related identifying information;

   2. types, a1nounts, and prices of drugs trafficked as well as dates, places, and

amounts of specific transactions;

   3. any information related to sources of drugs (including names, addresses,

phone numbers, or any other identifying information);

   4. information reflecting schedules or appointments;

   5. all bank records, checks, credit card bills, account infonnation, and other

financial records;

   6. records reflecting the purchase or sale of controlled substances, including

ledgers, customer lists, supplier lists, correspondence, receipts, journals, books

and/ or other papers noting the price, quantity or quality of controlled



                                          B-1
substances, or noting the person to or from whom locations where controlled

substances were obtained, transferred, sold or distributed and/ or indicating

amounts due or owed on account or transactions;

   7. records showing the acquisition, secreting, transfer, and/ or concealment of

assets and the obtaining, conversion, transfer, concealment, and/ or

disbursement of currency, currency equivalent, or counterfeit currency,

including personal books, records, writings, receipts, insurance records, letters of

credit, receipts of customer copies of money drafts, cashier's checks, traveler's

checks, wire transfer receipts, bank checks or deposit tickets, safe deposit box

agreements, storage facility agreements, and receipts of expenditures;

   8. records of warehouse, house or apartment leases, safety deposit box records

and storage facility records;

   9. records relating to the purchase of large scale business or personal assets

including vehicles, furniture, or any other items or receipts reflecting

expenditures for personal or business items in excess of $1,000;

   10. tax records including income tax returns (Federal, State), real estate and

personal property records (city and county), sales tax records (city, county and

state), including supporting schedules and work papers, summary sheets,

documents and analysis used in the preparation of tax returns and records;

   11. loan records, including but not limited to loans payable and receivable

documents to include notes, check stubs, payment books, records, loan

agreements, loan applications, mortgages, security agreements, deeds of trust,

letters of credit, payroll records, and related documents;


                                        B-2
   12. personal contact and address records, and other items which identify

names, nicknames, addresses, telephone numbers, of individuals involved in

drug trafficking activitiesi

   13. photographs and videos of individuals involved in drug trafficking,

vehicles and other assets, and controlled substances purchased or distributedi

   14. documents reflecting the use of fictitious names, addresses, and business

fronts, the use of other people's names addresses and businesses, and the

dominion and control over assets by the criminal associates placed under

someone else's name;

   15. records and items indicating occupancy, residency, and/ or ownership of

premises, including bills, photographs, addressed envelopes, and rent receipts;

   16. records reflecting h·avel, including passports, airline tickets, vehicle rental

receipts, credit card receipts, hofel and restaurant receipts,
                                                      ,
                                                               canceled checks,

inaps, and records of long distance calls; and

   17. evidence of user attribution showing who used or owned the device, such

as logs, phonebooks, saved usernames and passwords, documents, and browsing

history.
                                           11
   18. As used above, the terms "records and "information" include.all of the

foregoing items of evidence in whatever fonn and by whatever means they may

have been created or stored, including any form of computer or electronic

storage (such as flash memory or other media that can store data) and any

photographic form.




                                         B-3
                                                                                                                                                                      FILED IN CHAMBERS
                                                                                                                                                                    .              U.S.D.C. Atlanta
                                                                                                                                                                    •
              ~!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!~!!!!!!!!!!!!!!!!!!!l!i!!!!!!!!l~t,5

                                                                                                                                                                          By:J~:~ ~1erk
                                                                                                                                                                                                                                1
                                                          United States District Court
                                                                                                                                                                                t
                                                           NORTHERN DISTRICT OF GEORGIA
                             In the Matter of the Search of
 Apple iPhone Seized From Mani Chilpayen and currently in
                                                                                                                                                     SEARCH WARRANT
 the custody of the Superior Court of Fulton County,
                                                                                                                                                   Case number: 1:15-MC-678
 Georgia




TO: Special Agent Mar~o Lijoi, and any Authorized Officer of the United States .
Affidavit(s) having been made before me by Mario Lijoi who has reason to believe that in the property
described as:
    Apple iPhone Seized From Mani Chilpayen and currently in the custody of the Superior Court of
    Fulton County, Georgia, as described in more detail on Attachment A,
in the Northern District of Georgia there is now concealed certain property, certain information, and
certain data, namely,
    See Attachment B,
which constitutes evidence of a crime, contraband, fruits of crime, or items illegally possessed, and
property designed for use, intended for use, or used in committing a crime, concerning violations of Title
18, United States Code, Section(s) 1956 & 1957; Title 18, United States Code, Section(s) 1344; Title 18,
United States Code, Section(s) 1343; and Title 21, United States Code, Section(s) 841 & 846. I find that the
affidavit(s) establishes probable cause to search for and seize the certain property, certain information,
and certain data from the property described above.

YOU ARE HEREBY COMMANDED to execute this warrant on or
exceed 14 days) AT ANY TIME IN THE DAY OR NIGHT AS I FIND GOOD CAUS
                                                                                 K       f ,;)Q
                                                                                        A BEEN
                                                                                                        to                          before~                                                            ~t
ESTABLISHED. You must give a copy of the warrant and~ receipt for the proper aken to the person
from whom, or from whose premises, the property was taken, or leave a copy of the warrant and receipt
at the place where the property was taken. The officer executing the warrant, or an officer present during
the execution of the warrant, must prepare an inventory as required by law and promptly return this
warrant and inventory to United States Magistrate Judge Janet F. King.

June 17, 2015 at              cY.' SS 0                   fY\                                                at        Atlanta, Georgia
Date and Time Issued                             I                                                                     City and States


JANET F. KING
UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer
AUSA Garrett L. Bradford
